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AO 245B (Rev. 09/17)   Judgment in   a Criminal Case
                        Sheet 1



                                            UNITED STATES DISTRICT COURT
                                                            Middle District of Alabama
                                                                         )
              UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                                                         )
                                     V.
                                                                         )
                  RICHARD LEE BURNETTE                                   )
                                                                                   Case Number: 3:17cr377-01-LSC
                                                                         )
                                                                         )         USM Number: 17151-002
                                                                         )
                                                                                    Richard Kelly Keith
                                                                         )
                                                                                   Defendant's Attorney
                                                                         )
THE DEFENDANT:
0pleadcd guilty to count(s)               One of the Indictment on October 26, 2017

0pleaded nolo contendere to count(s)
 which was acccpted by the court.
O was found guilty on count(s)
  after a plea of not guilty.

Thc defcndant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                     Offense Ended               Count

 21 USC 841(a)(1) and 2               Possession w/Intent to Distribute a Controlled Substance               1 1/29/2016                 1




       The defendant is sentenced as provided in pages 2 through               7          of this judgment. The sentcnce is imposed pursuant to
the Sentencing Reform Act of 1984.

❑ The defcndant has becn found not guilty on count(s)

   Count(s)      Two of the Indictment                    gr is   El are dismissed on the motion of the Unitcd States.

         It is ordered that the defcndant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         2/2/2018
                                                                        Date of Imposition of Judgment



                                                                         /s/ L.Scott Coogler
                                                                        Signature ofJudge




                                                                         L. SCOTT COOGLER, UNITED STATES DISTRICT JUDGE
                                                                        Name and Title of Judge


                                                                         2/12/2018
                                                                        Date
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AO 2458 (Rev. 09/17) Judgment in CrirMnai Case
                     Sheet 2 — Imprisonment

                                                                                                      Judgment — Page      2   of   J   7
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 3:17cr377-01-LSC

                                                            IMPRISONMENT

        The defendant is hcreby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

  151 Months. This sentence shall run concurrently with case no. 2:17cr94-01-LSC.




       g   The court makes the following reeommendations to the Bureau of Prisons:

  The court recommends that the defendant be designated to a facility near as possible to Montgomery, Alabama.
  The court recommends that the defendant be designated to a facility where drug treatment is available.



      • Thc defcndant is remanded to the custody of the United States Marshal.

       ❑ The defendant shall surrender to the United States Marshal for this district:

           ❑ at                                  0 a.m.        ❑ p.m.       on

           O as notified by the United States Marshal.

       E   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           0 before 2 p.m. on

           O as notified by the United States Marshal.

           El as notified by the Probation or Pretrial Services Office.



                                                                  RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                        to

 at                                                , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                          By
                                                                                               DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev.09M 7) Judgment in a Crirninal Case
                    Sheet 3 — Supervised Release
                                                                                                    Judgment—Page          of
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 3:17cr377-41-LSC
                                                    SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 5 Years. This term shall run concurrently with 2:17cr94-01-LSC.




                                                   MANDATORY CONDITIONS

1.   You must not commit another federal, state or loeal crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substanee. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ❑ The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check Ifapplicable)
4.    ❑ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
        restitution. (check ifapphcable)
5.    g You must cooperate in the col]ection of DNA as directed by the probation officer. (check ifapplicable)
6.    ❑ You must comply with the requirements of the Scx Offender Registration and Notification Act (42 U.S.C. § 16901, ei seq.) as
        directed by thc probation officer, thc Bureau of Prisons, or any state sex offender rcgistration agency in the location where you
        reside, work, are a student, or werc convicted of a qualifying offense. (check fappiicable)
7.    1=I You must participate in an approved program for domestic violence. (check f
                                                                                    i applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on thc attached
page.
                 Case 3:17-cr-00377-LSC-CSC Document 46 Filed 02/12/18 Page 4 of 7



 AO 245B (Rev. O9/1 7) Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                               Judgment—Page         4        of
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 3:17cr377-01-LSC

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior whilc on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.    You must report to the probation office in the federal judicial district where you are authorizcd to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      eourt or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation offieer at least 10 days before the change. If notifying
      the probation offieer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer exeuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation offieer exeuses
      you from doing so. If you plan to change where you work or anything about your work (sueh as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation offieer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expeeted change.
8.    You must not eommunicate or interaet with someone you know is engaged in eriminal aetivity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation offieer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have aecess to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person sueh as nunchakus or tasers).
11.   You must not aet or make any agreement with a law enforeement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation offieer determines that you posc a risk to another person (ineluding an organization), the probation offieer may
      requirc you to notify the person about the risk and you must comply with that instruction. The probation officcr may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instruetions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation offieer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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 AO 245B(Rev.09/1 7) Judgment in a Criminal Case
                     Sheet 30 — Supervised Release
                                                                                           Judgment—Page
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 3:17cr377-01-LSC

                                       SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in an approved program by the United States Probation Office for substance abuse as
directed, which may include testing to determine whether he has reverted to the use of drugs. The defendant shall
contribute to the cost of any treatment based on his ability to pay and the availability of third-party payments.

2. The defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
court.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page       6      of
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 3:17cr377-01-LSC
                                              CRIMINAL MONETARY PENALTIES

      The defendant must pay the total eriminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                    JVTA Assessment*              Fine                      Restitution
TOTALS             $ 100.00                    $                             $                         $


 CI The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case(AO 245C) will be entered
      after such deterrnination.

 ❑ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, eaeh payee shall reeeive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment eolumn below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal vietims must be paid
      before the United States is paid.

 Name of Payee                                                    Total Loss**           Restitution Ordered             Priority or Pereentace




TOTALS                                                        0.00                                0.00


 ❑     Restitution amount ordered pursuant to plea agreement $

0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 El    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       ❑ the interest requirement is waived for the           ❑ fine   ID restitution.

      0 the interest requirement for the           ❑   fine    0 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 1I3A of Title 18 for offenses eommitted on or
after Scptember 13, 1994, but before April 23, 1996.
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AO 2.45"B (Rev_ 09/17) Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments
                                                                                                            Judgment — Page     7      of           7
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 3:17cr377-01-LSC


                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total crimina] monetary penalties is due as follows:

A     V    Lump sum payment of$           100.00              due immediately, balance due

           E      not later than                                  , or
           gj     in accordance with 0 C,          0 D,       ❑    E, or           F below; or

      ▪    Payment to begin immediately(may be eombined with               CI C,       ❑ D, or      0 F below); or

C     ❑    Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                        (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

D     CI   Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years), to eommence                      (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0 Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
       imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

           Special instructions regarding the payment of eriminal monetary penalties:

            All criminal monetary payments are to be made to the Clerk, United States District Court, One Court Street,
            Montgomery, Alabama.




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the elerk of the court.

The defendant shall receive crcdit for all payments previously made toward any criminal monetary pcnalties imposed.




O     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




CI    The defendant shall pay the cost of prosecution,

CI    The defendant shall pay the following court cost(s):

O     The defcndant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order:( )assessment,(2)restitution principal,(3)restitution interest,(4)fine prineipal,(5)fine
interest,(6) community restitution,(7)JVTA assessment,(8) penalties, and (9) eosts, ineluding cost of prosecution and court costs.
